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THE RUSSELL FRIEDMAN
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March 16, 2020

VIA ECF

The Honorable Vera M. Scanlon
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: State Farm Mut. Auto. Ins. Co., et al. v. 21st Century Pharmacy, Inc., et al.,
17 Civ. 5845-MKB-VMS -— Joint Request for Extension of Stay of Proceedings

Dear Judge Scanlon:

Pursuant to the Court’s February 27, 2020 Text Orders, the Parties to the above-referenced
action write jointly to update the Court on the status of mediation and to respectfully request an
extension of the stay of proceedings until May 5, 2020.!

The Parties are diligently working toward mediation. They have selected and agreed upon
a mediator and scheduled a mediation through JAMS for April 28, 2020. The mediation will go
forward ideally in person if circumstances allow, or by remote means if the present public health

crisis continues.

Given the date set for the mediation, travel restrictions, necessary social distancing and
related office closures, an extension of the stay of proceedings ordered by this Court on February
27, 2020 is appropriate and warranted. Even absent mediation, an extension of the stay would be
appropriate due to challenges the public health crisis presents to document discovery and

conducting depositions.

By this letter, the Parties respectfully request that the Court continue the stay through May
5, 2020, which will provide the Parties with time to complete mediation and attempt to resolve

 

| The “Parties” to this action include Defendants 21st Century Pharmacy Inc., Albert Alishayev, Iris Itskhakov a/k/a
Istam Itskhakov, Peter Khaim a/k/a Peter Khaimov a/k/a Petr Khaimov, Tariel Begiyev, Express Billing & Collection
Inc, Anturio Marketing, Inc., Logic Consulting, Inc., P&K Marketing Services Inc, A&P Holding Group Corp, New
Business Resources Group Inc, K&L Consultants Inc, New Business Funding Inc, TBM Solution Inc, TAR Group
Inc, Azu A. Ajudua, M.D., and Vincentiu Popa, M.D. (together, “Defendants”) and Plaintiffs State Farm Mutual
Automobile Insurance Company and State Farm Fire and Casualty Company (together, “Plaintiffs”) (collectively,
Plaintiffs and Defendants are referred to as the “Parties”). Defendants Timothy Morley, M.D., Jo-Ann Shakarjian,
M.D., and Personal Tech Inc have not answered the First Amended Complaint, and Certificates of Default have been

entered against them. Dkts. 185-87.

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We

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their disputes. The Parties further request that the Court extend any deadlines set forth in Text
Orders entered on February 27, 2020 by the length of any continuation of the stay.

Respectfully Submitted By:

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